
65 So.3d 1175 (2011)
Carl LINEBERGER, Petitioner,
v.
STATE of Florida, Respondent.
No. 1D11-1162.
District Court of Appeal of Florida, First District.
July 22, 2011.
Carl Lineberger, pro se, Petitioner.
Pamela Jo Bondi, Attorney General, and Brooke Poland, Assistant Attorney General, Tallahassee, for Respondent.
PER CURIAM.
The petition seeking a belated appeal of the order denying motion to correct illegal sentence rendered December 29, 2011, in Bay County Circuit Court case numbers 03-3235-H and 03-3236-H, is granted. Upon issuance of mandate, a copy of this opinion shall be furnished to the clerk of the lower tribunal for treatment as a notice of appeal.
VAN NORTWICK, WETHERELL, and ROWE, JJ., concur.
